                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:17cr134

UNITED STATES OF AMERICA,

                v.                                                          ORDER

DAVID MATTHEW LOWE
_____________________________________________________________________________

This MATTER is before the Court upon Defendant’s Motion to be excused from Further Status
Conferences and Calendar Calls in the Addison Case (3:17cr134).

The court finds the ends of justice served by taking such action outweighs the interest of the
public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

IT IS THEREFORE ORDERED that this defendant has plead and his attorney does not need
to attend anymore Status Conferences or Calendar Calls in the Addison Case (3:17cr134).

The Clerk is directed to certify copies of this order to Defendant, Counsel for Defendant, to the
United States Attorney, the United States Marshals Service, and the United States Probation
Office.

IT IS SO ORDERED.


                                                 Signed: January 29, 2018




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